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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                        :           CRIMINAL ACTION
                                                 :
    v.                                           :           No. 17-390-1
                                                 :
 EDWIN PAWLOWSKI                                 :

                                       MEMORANDUM
 Juan R. Sánchez, C.J.                                                      November 20, 2018

         On March 1, 2018, after a six-week trial, a jury convicted Defendant Edwin Pawlowski,

the former mayor of the City of Allentown, of 47 counts of corruption-related offenses arising out

of his orchestration of a pay-to-play scheme while in public office to fund his campaigns for

Governor of Pennsylvania and the United States Senate. At the close of the Government’s case,

and again at the close of all evidence, Pawlowski moved for a judgment of acquittal pursuant to

Federal Rule of Criminal Procedure 29. The Court reserved ruling on the motion. By Order of

October 22, 2018, the Court granted Pawlowski’s motion in part and denied it in part. Pursuant to

Third Circuit Local Appellate Rule 3.1, the Court issues this Memorandum to summarize the basis

for its rulings.

BACKGROUND

         In July 2017, Pawlowski and Co-Defendants Scott Allinson and James Hickey were

charged by indictment with conspiring to commit mail fraud, wire fraud, honest services fraud,

federal program bribery, and Travel Act bribery and with numerous substantive offenses, arising

out of Pawlowski’s wide-ranging pay-to-play scheme. As discussed in greater detail below, the

scheme involved various sub-schemes whereby Pawlowski, directly and through his operatives,

agreed to steer City contracts or provide other favorable official action to companies, law firms,

and individuals in exchange for campaign contributions and other items of value. In addition to
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the conspiracy charge (Count 1), Pawlowski was charged with 14 counts of federal program

bribery (soliciting), in violation of 18 U.S.C. § 666 (Counts 2, 4-11, 13, 15-18); three counts of

attempted Hobbs Act extortion under color of official right, in violation of 18 U.S.C. §§ 1951 and

2 (Counts 3, 12, 14); nine counts of mail fraud, in violation of 18 U.S.C. § 1341 (Counts 20-28);

nine counts of wire fraud, in violation of 18 U.S.C. § 1343 (Counts 29-37); six counts of honest

services wire fraud, in violation of 18 U.S.C. §§ 1343 and 1346 (Counts 38-43); two counts of

honest services mail fraud, in violation of 18 U.S.C. §§ 1341 and 1346 (Counts 44-45); three counts

of Travel Act bribery, in violation of 18 U.S.C. § 1952 (Counts 46-48); and seven counts of making

false statements, in violation of 18 U.S.C. § 1001 (Counts 49-55).

          Pawlowski and Allinson, an attorney whose law firm was seeking contract work from the

City, proceeded to trial in January 2018. 1 At trial, the Government sought to establish Pawlowski’s

orchestration of and involvement in the pay-to-play scheme through tape recorded conversations, 2

witness testimony, and documentary evidence. The Government’s proof showed that Pawlowski

used and sold his public office to raise campaign funds for his political ambitions to become the

Governor of Pennsylvania and a United States Senator. In order to identify potential donors to his

campaigns, Pawlowski generated lists of vendors that held City contracts and used those lists to

determine the amount of campaign contributions to be solicited from the vendors. Pawlowski also

targeted vendors that were affiliated with politically-influential individuals in the Democratic party

for City contracts and then solicited campaign contributions from these vendors.




1
    Hickey pleaded guilty to a single count of the Indictment prior to trial.
2
  For ease of reference, citations to the recorded conversations below are to the transcripts of those
conversations rather than to the audiotapes themselves. Although the transcripts were not admitted
into evidence, they were used during trial as aids, and their accuracy is not contested.


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          To facilitate his pay-to-play scheme, Pawlowski deployed his campaign staff, campaign

manager Michael Fleck 3 and campaign aide Sam Ruchlewicz, as his operatives.                  Francis

Dougherty, the City’s Managing Director, also worked closely with Pawlowski and assisted with

Pawlowski’s scheme. Pawlowski told Dougherty that Fleck and Ruchlewicz “represented him,”

and Dougherty thus took direction on City-related matters from them in addition to Pawlowski.

Trial Tr. Day 3 at 76-77, Jan. 23, 2018. By late 2013 to 2014, Pawlowski had provided Fleck and

Ruchlewicz—who would otherwise have no authority to conduct official City business—with

direct access to City Hall, enabling them to meet with City officials to manage the awarding of

City contracts on their own. Even though he used Fleck, Ruchlewicz, and Dougherty to help

execute his scheme and provide a layer of insulation between him and those he sought to engage

in his scheme, Pawlowski was “paranoid” about his conduct being detected. See Trial Tr. Day 9

at 168, Feb. 2, 2018. To further shield his conduct from being discovered, Pawlowski took

additional precautionary measures, including sweeping his office for electronic eavesdropping

devices, using burner phones, and speaking to his operatives in person to avoid being recorded.

See id.

          The evidence at trial connected Pawlowski to nine pay-to-play sub-schemes, involving (1)

an agreement to expedite a zoning application and inspection for real estate developer Ramzi

Haddad, in addition to the steering of City contracts (2) for the collection of delinquent real estate

taxes to Northeast Revenue Service; (3) to revamp the City’s street lights to The Efficiency

Network; (4) to update the City’s cybersecurity system to CIIBER; (5) for the design and

construction of the City’s pools to Spillman Farmer Architects; (6) for a street construction project



3
 In addition to his political consulting work, Fleck also had a general consulting business called
Hamilton Development Partners, which represented private companies seeking to conduct
business with local governments.
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to McTish, Kunkle & Associates; and for legal services to the law firms of (7) Norris McLaughlin;

(8) Stevens & Lee; and (9) Dilworth Paxson all in exchange for campaign contributions or other

items of value.

       Following a six-week trial, Pawlowski was convicted of 47 of the 54 counts against him. 4

At the close of the Government’s case, and again at the close of all evidence, Pawlowski moved

for a judgment of acquittal on all counts on the basis that the Government’s evidence was

insufficient to sustain his convictions. 5 On October 22, 2018, the Court granted Pawlowski’s

motion in part and denied it in part. The Court explains the basis for its rulings below.

LEGAL STANDARD

       Under Federal Rule of Criminal Procedure 29, a defendant may move for a judgment of

acquittal “[a]fter the [G]overnment closes its evidence or after the close of all evidence.” Fed. R.

Crim. P. 29(a). The court must grant the motion and enter a judgment of acquittal “of any offense

for which the evidence is insufficient to sustain a conviction.” Id. In evaluating a sufficiency of

the evidence challenge pursuant to Rule 29, a district court must “review the record in the light




4
  The Dilworth Paxson scheme will not be discussed below as Pawlowski was acquitted of all
counts relating to that scheme. In addition, Pawlowski’s arguments as to Counts 29, 31, 32, 38,
and 39 will not be addressed because these counts were dismissed on the Government’s motion
following sentencing.
5
  When Pawlowski moved for a judgment of acquittal at trial, he did not offer any argument as to
why the motion should be granted as to Count 1, charging him with conspiracy to commit mail
fraud, wire fraud, honest services mail fraud, honest services wire fraud, federal program bribery,
and Travel Act bribery. Pawlowski also made no argument as to Count 1 in his written post-trial
motion filed with the Court on April 20, 2018. On August 29, 2018, in his response to the
Government’s Sentencing Memorandum, Pawlowski filed a Supplement to his Rule 29 motion in
which he argues there was insufficient evidence to prove each overt act charged in the Indictment.
The Court construes his Supplement as an explicit challenge to the sufficiency of the evidence as
to Count 1, and it will address these arguments below. See infra note 15. To the extent his
arguments apply to the substantive offenses of the conspiracy, however, the Court will also address
these arguments in the discussion of each sub-scheme.
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most favorable to the [Government] to determine whether any rational trier of fact could have

found proof of guilt beyond a reasonable doubt based on the available evidence.” United States v.

Smith, 294 F.3d 473, 476 (3d Cir. 2002) (internal quotation marks and citation omitted). When a

court reserves ruling on a Rule 29 motion made at the close of the Government’s case, the court

must “decide the motion on the basis of the evidence at the time the ruling was reserved.” Fed. R.

Crim. P. 29(b); see also United States v. Brodie, 403 F.3d 123, 133 (3d Cir. 2005) (“[T]he District

Court was required to, and properly did, determine whether an acquittal was appropriate based

solely on the evidence presented by the [G]overnment.”). The court must “review the evidence as

a whole, not in isolation,” United States v. Boria, 592 F.3d 476, 480 (3d Cir. 2010), and should

not weigh the evidence or determine the credibility of witnesses, United States v. Dent, 149 F.3d

180, 187 (3d Cir. 1998). The Court “must uphold the jury’s verdict unless no reasonable juror

could accept the evidence as sufficient to support the defendant’s guilt beyond a reasonable doubt.”

United States v. Fattah, 902 F.3d 197, 268 (3d Cir. 2018).

DISCUSSION

       In his Rule 29 motion, Pawlowski argues a judgment of acquittal should be entered as to

the counts of the Indictment charging him with attempted Hobbs Act extortion under color of

official right, honest services mail and wire fraud, federal program bribery, and Travel Act bribery

because the Government failed to prove an explicit quid pro quo, as required under McCormick v.

United States, 500 U.S. 257 (1991), or that he took (or agreed to take) any “official acts” in

exchange for a thing of value to satisfy McDonnell v. United States, 136 S. Ct. 2355 (2016).

Relying on these arguments, Pawlowski asserts a judgment of acquittal should be entered as to the

counts of the Indictment charging him with mail and wire fraud as well. He further argues the

Government failed to prove he made false statements to agents of the Federal Bureau of



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Investigation, and a judgment of acquittal should also be entered as to these counts. The Court

will address Pawlowski’s arguments as to the attempted Hobbs Act extortion under color of official

right, honest services mail and wire fraud, federal program bribery, and Travel Act bribery counts

in Section A, mail and wire fraud counts in Section B, and false statements counts in Section C.

       A.      Attempted Hobbs Act Extortion, Honest Services Mail and Wire Fraud,
               Federal Program Bribery, and Travel Act Bribery

       As noted, in his Rule 29 motion, Pawlowski argues the Government failed to prove an

explicit quid pro quo for each of the attempted Hobbs Act extortion under color of official right,

honest services mail and wire fraud, federal program bribery, and Travel Act bribery counts, or

that these counts involved an official act by Pawlowski.

       To sustain a conviction for Hobbs Act extortion under color of official right, the

Government must offer proof of a quid pro quo—i.e., that a public official “‘receive[d] a payment

in return for his agreement to perform specific official acts.’” United States v. Munchak, 527 F.

App’x 191, 193 (3d Cir. 2013) (quoting Evans v. United States, 504 U.S. 255, 268 (1992)); see

also In re Lueders’ Estate, 164 F.2d 128, 135 (3d Cir. 1947) (noting a “‘[q]uid pro quo’ in its

common acceptance means ‘something for something’”). Like extortion under color of official

right, a conviction for honest services mail or wire fraud also requires proof of a quid pro quo,

“that is, a specific intent to give or receive something of value in exchange for an official act.”

United States v. Wright, 665 F.3d 560, 567-68 (3d Cir. 2012) (defining honest services fraud in

the context of a bribery theory). Although the Third Circuit Court of Appeals has not decided

whether proof of a quid pro quo is required for a federal program bribery conviction, see United

States v. Willis, 844 F.3d 155, 164 (3d Cir. 2016), or Travel Act bribery, as discussed below, the

parties agree that where the “quid,” or thing of value offered, is a campaign contribution, the

Government must prove a quid pro quo that is explicit—i.e., an explicit quid pro quo.

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       The requirement of an explicit quid pro quo derives from McCormick v. United States. In

McCormick¸ when a state elected official sponsored legislation benefiting a group of his

constituents and received payments from an organization that represented the same constituents

the legislation benefited, he was prosecuted and convicted for violating the Hobbs Act by extorting

payments under color of official right. 500 U.S. 257 (1991). In reversing the conviction, the

Supreme Court reasoned that allowing the Government to prosecute a politician’s act that serves

his constituents before or after campaign contributions are solicited or received “would open to

prosecution not only conduct that has long been thought to be well within the law but also conduct

that in a very real sense is unavoidable so long as election campaigns are financed by private

contributions or expenditures, as they have been from the beginning of the Nation.” Id. at 272. It

thus held that the receipt of campaign contributions is actionable under the Hobbs Act as having

been taken under color of official right “only if the payments are made in return for an explicit

promise or undertaking by the official to perform or not to perform an official act.” Id.

       Although McCormick involved a prosecution for Hobbs Act extortion under color of

official right, courts have applied its explicit quid pro quo requirement to prosecutions for honest

services fraud and bribery when the thing of value offered in exchange for an official act is a

campaign contribution. See, e.g., United States v. Ring, 706 F.3d 460, 466 (2d Cir. 2013) (“[W]e

assume without deciding . . . that McCormick, which concerned extortion, extends to honest-

services fraud.”); United States v. Siegelman, 640 F.3d 1159, 1172-74 (11th Cir. 2011) (assuming,

without deciding, that McCormick extends to honest services fraud and federal program bribery);

United States v. Malone, No. 03-CR-00500, 2006 WL 2583293, at *1 (D.Nev. Sept. 6, 2006) (“the

Supreme Court’s reasoning in McCormick [is] equally applicable to charges of honest services

wire fraud where the ‘scheme or artifice to defraud’ involved the payment of campaign



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contributions”); see also United States v. Allen, 10 F.3d 405, 411 (7th Cir. 1993) (finding extortion

under color of official right and bribery “different sides of the same coin”). 6

        In determining whether the Government has met its burden to prove an explicit quid pro

quo, the relevant inquiry is “whether a rational juror could find that there was a quid pro quo and

that the charged [d]efendant was aware of its terms.” United States v. Menendez, 291 F. Supp. 3d

606, 624 (D.N.J. 2018) (emphasis omitted). “While the quid pro quo must be explicit, it need not

be express”; thus, “political contributions may be the subject of an illegal bribe even if the terms

are not formalized in writing or spoken out loud.” Id. (emphasis omitted). The “‘jury may consider

both direct and circumstantial evidence, including the context [of the arrangement].’”                Id.

(alteration in original) (quoting United States v. Carpenter, 961 F.2d 824, 827 (9th Cir. 1992)). 7



6
   The parties have also agreed an explicit quid pro quo is required for a Travel Act bribery
conviction. The Travel Act makes it a federal offense for an individual to utilize the facilities of
interstate commerce with the intent to “promote, manage, establish, carry on, or facilitate the
promotion, management, establishment, or carrying on, of any unlawful activity,” see 18 U.S.C.
§ 1952(a)(3), and in this case, incorporates Pennsylvania’s substantive law of bribery into federal
law as the “unlawful activity.” Because the unlawful activity here involves bribery in the campaign
contribution context, the parties agree the more stringent standard is required.
7
  Shortly after the Supreme Court articulated the explicit quid pro quo standard in McCormick, it
decided Evans v. United States, 504 U.S. 255 (1992), a case in which an elected county official—
who accepted an unsolicited cash contribution and a check payable to his campaign in exchange
for making favorable zoning decisions—was convicted of Hobbs Act extortion under color of
official right. The official subsequently challenged his conviction on the basis that he did not
solicit the benefits and the trial court’s jury instructions did not sufficiently articulate the quid pro
quo requirement if the jury found that the benefits he received were campaign contributions. See
id. at 267. The Supreme Court held that an affirmative act of inducement was not required for the
conviction and found the trial court’s jury instructions satisfied McCormick. See id. at 268. In a
concurring opinion, Justice Kennedy discussed the quid pro quo requirement, stating, “The official
and the payor need not state the quid pro quo in express terms, for otherwise the law’s effect could
be frustrated by knowing winks and nods. The inducement from the official is criminal if it is
express or if it is implied from his words and actions, so long as he intends it to be so and the payor
so interprets it.” Id. at 274.
         Following Evans, some courts have interpreted McCormick’s explicit quid pro quo
standard by noting “explicit” is not interchangeable with “express,” and instead have looked to the
directness of the link between the quid and the quo or the degree of awareness of the exchange by
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       The “quo” aspect of the quid pro quo requirement was addressed by the Supreme Court in

McDonnell v. United States, 136 S. Ct. 2355 (2016). McDonnell narrowed the scope of conduct

that may qualify as an “official act” and held:

       an “official act” is a decision or action on a “question, matter, cause, suit,
       proceeding or controversy.” The “question, matter, cause, suit, proceeding or
       controversy” must involve a formal exercise of governmental power that is similar
       in nature to a lawsuit before a court, a determination before an agency, or a hearing
       before a committee. It must also be something specific and focused that is
       “pending” or “may by law be brought” before a public official. To qualify as an
       “official act,” the public official must make a decision or take an action on that
       “question, matter, cause, suit, proceeding or controversy,” or agree to do so. That
       decision or action may include using his official position to exert pressure on
       another official to perform an “official act,” or to advise another official, knowing
       or intending that such advice will form the basis for an “official act” by another
       official.




the parties involved. See Menendez, 291 F. Supp. 3d at 624; United States v. Terry, 707 F.3d 607,
612-13 (6th Cir. 2013) (noting that “specific,” “express,” and “explicit” do not add a new element
to [] bribery statutes “but signal that the statutory requirement must be met,” and “[a]s most bribery
agreements will be oral and informal, the question is one of inferences taken from what the
participants say, mean and do, all matters that juries are fully equipped to assess”); Siegelman, 640
F.3d at 1172 (“an explicit agreement may be ‘implied from [the official’s] words and actions’”
(alteration in original) (quoting Evans, 504 U.S. at 274)); United States v. Blandford, 33 F.3d 685,
696 (6th Cir. 1994) (explaining that Evans instructed that by “‘explicit’ McCormick did not mean
‘express,’” and “[e]xplicit . . . speaks not to the form of the agreement between the payor and the
payee, but to the degree to which the payor and payee were aware of its terms, regardless of
whether those terms were articulated”); Carpenter, 961 F.2d at 827 (explaining that “what
McCormick requires is that the quid pro quo be clear and unambiguous, leaving no uncertainty
about the terms of the bargain” and noting that to “read McCormick as imposing [a requirement
that a defendant specifically state that he will exchange official action for a contribution] would
allow officials to escape liability under the Hobbs Act with winks and nods, even when the
evidence as a whole proves that there has been a meeting of the minds to exchange official action
for money”); see also United States v. Inzunza, 638 F.3d 1006, 1014 (9th Cir. 2011) (noting that
in the campaign contribution context, the connection between the explicit promise of official action
and the contribution “may be circumstantial”).


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Id. at 2371-72. 8 The Third Circuit Court of Appeals recently applied the McDonnell standard in

an appeal by a former congressman who was convicted of bribery-related offenses in United States

v. Fattah, and it held that the congressman’s act of arranging a meeting with a United States Trade

Representative for a friend did not qualify as an “official act” under McDonnell. 902 F.3d at 238.

       Here, the Government presented sufficient evidence from which a reasonable jury could

find beyond a reasonable doubt that the requirements of both McCormick and McDonnell were

satisfied as to all counts involving attempted Hobbs Act extortion under color of official right,

honest services mail and wire fraud, federal program bribery, and Travel Act bribery except Counts

11, 12, 13 and 14. The Court will explain its reasoning by reviewing the evidence presented as it

relates to each particular sub-scheme of which the counts are a part.

       1324 Sherman Street

       The first sub-scheme involves zoning and inspection for a property located at 1324

Sherman Street in the City of Allentown. Count 6 charges Pawlowski with federal program bribery

stemming from expediting a zoning application related to this property for real estate developer

Ramzi Haddad in exchange for a $2,500 campaign contribution in December 2014. Count 48

charges Pawlowski with Travel Act bribery based on his May 2015 trip to New York to solicit

campaign contributions from Haddad in exchange for expediting an inspection for the Sherman

Street property.

       As to Count 6, Pawlowski argues the evidence showed the check Haddad gave to him in

December 2014 was part of a longstanding pattern of donations with no connection to zoning




8
 The parties agree McDonnell’s definition of the term “official act” applies to the attempted Hobbs
Act extortion and honest services fraud counts as well as the federal program bribery and Travel
Act bribery counts in this case.


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assistance. Pawlowski also contends Haddad communicated only with Ruchlewicz, Dougherty,

and Zoning Supervisor Barbara Nemith about the zoning issue, and that Dougherty did nothing

more than refer the issue to the appropriate City official, Nemith, who performed her job properly

and legally. Because he had no part in the zoning matter, Pawlowski argues that there could be no

explicit quid pro quo agreement under McCormick. As to Count 48, Pawlowski argues his and

Haddad’s discussion about Haddad’s upcoming property inspection during the New York meeting

was not connected to any discussion about campaign contributions. Finally, Pawlowski argues the

Government failed to prove an official action under McDonnell as to both Counts 6 and 48.

       The Court disagrees.     Contrary to Pawlowski’s assertions, a reasonable juror could

conclude that Pawlowski and Haddad had two explicit quid pro quo agreements, whereby Haddad

would give Pawlowski (1) $2,500 in exchange for Pawlowski’s assistance with expediting a zoning

application for his Sherman Street property; and (2) campaign contributions in exchange for

assistance with an inspection on the same property. There was also sufficient evidence from which

a jury could find that Pawlowski took official acts in exchange for these contributions as required

by McDonnell.

       Haddad testified that when he initially contacted the zoning office about the Sherman Street

property in early December 2014, he was told his zoning request would not be acted on until

January 2015, which would have been a lengthy delay for him. See Trial Tr. Day 8 at 267, Jan.

31, 2018. Shortly thereafter, Haddad spoke with Ruchlewicz on December 4, 2014, and asked,

“[W]ho do I need to grease today?” Gov’t’s Ex. SR220T at 1. Ruchlewicz replied, “The mayor,”

explaining Pawlowski needed $2,500. See id. Haddad responded he might need help with a zoning

issue. See id.




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        After their conversation, Ruchlewicz informed Fleck, Pawlowski, and Dougherty that

Haddad needed assistance with a zoning issue. See Trial Tr. Day 9 at 221. When Haddad and

Ruchlewicz spoke again on December 10, 2014, Haddad asked Ruchlewicz how much the

contribution check should be for, and Ruchlewicz stated $2,500. See Gov’t’s Ex. SR231T at 2.

After Haddad scoffed at the amount, Ruchlewicz explained he had already talked to Pawlowski

about the zoning issue, and Pawlowski had agreed to intervene on Haddad’s behalf: “[Pawlowski]

said whatever you want . . . it’s done. Consider it done.” Id. Haddad wrote a check for $2,500 as

requested and reiterated his concern that tire storage would not be approved at his building, which

was zoned as “warehouse” at the time. Id. at 5. Ruchlewicz reassured him that Pawlowski would

“fix it . . . [and] just do it. The zoning authority in Allentown rests with the mayor.” See id.

Haddad continued to be skeptical, but Ruchlewicz assuaged him by telling him the mayor had

“veto power over all the zoning,” he would do whatever he had to, and the zoning matter would

“sneak” through because the zoning officer worked for the mayor. See id. at 5. After their

discussion, Ruchlewicz apprised Dougherty that Haddad needed assistance with his building on

Sherman Street and had a “time frame issue,” and Dougherty responded he would direct Nemith

to prioritize review of Haddad’s application. See Gov’t’s Ex. SR245T at 1-3.

        After Haddad submitted his zoning application, Nemith sent two emails to Dougherty

providing him with updates concerning the application, see Gov’t’s Exs. C-6, C-7, and the

application was approved the following day on December 19, 2014, see Gov’t’s Ex. C-10. Without

Dougherty’s intervention, this approval could have taken days or weeks to obtain. See Trial Tr.

Day 8 at 201-02. Haddad later thanked Dougherty for his help with the Sherman Street property

when he met with Dougherty and Pawlowski on December 31, 2014. See Gov’t’s Ex. SR260AT

at 1.



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       A few months later, on April 19, 2015, Pawlowski acknowledged the impropriety of his

relationship with Haddad, agreeing with Fleck that he did not want to get “Rob McCord’d” 9 and

telling Fleck that Ruchlewicz should talk to Haddad to see if “we can separate the stuff out so that

he’s actually not the one giving the money. . . . Since we’re doing so many direct things with

him.” Gov’t’s Ex. MF26T at 1-2. Pawlowski further explained, “I just don’t want him to show

up, you know, as a big donor . . . .” Id. at 2. Fleck suggested that when Haddad needed to talk to

someone about City-related issues, he use Dougherty as a buffer “[bec]ause the last thing you want

is to get on, you know, on a conversation on the phone, and he’s talking to you about, you know,

hey, how’s the garage coming?” Id. at 3. Pawlowski stated this was why he wanted burner phones

because then he could “just talk business on [one] phone and then . . . anything fund related [would

be discussed on] a different burner.” Id. Fleck agreed with Pawlowski’s proposal to use burner

phones to avoid detection, adding, “[t]hen if anybody’s ever trying to record you, they’ll never get

it, you know what I mean?” Id. Pawlowski responded, “Exactly, that’s the point. That’s the []

whole point of the burner phone, yes.” Id.

       The following month, on May 18, 2015, Pawlowski and Fleck drove to New York to meet

with Haddad and Jack Rosen, a wealthy New York real estate developer. See Trial Tr. Day 8 at

274, 277. On the drive, Fleck and Pawlowski agreed they needed to have a frank conversation

with Haddad about what each wanted from the other, and then never discuss those issues aloud

again. See Gov’t’s Ex. MF54-0921T at 1-2. They then discussed how much in campaign

contributions Pawlowski should request from Haddad for Pawlowski’s Senate race, see Gov’t’s

Ex. MF54-0933T at 1, and Fleck told Pawlowski that Haddad had an upcoming property




9
 Robert McCord was a former Pennsylvania Treasurer and gubernatorial candidate who pleaded
guilty to two counts of attempted Hobbs Act extortion.
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inspection, and that if the inspection uncovered any problems with his property, Haddad wanted

“just a letter and some time to work on it,” see id. at 2. When Pawlowski asked which property

the inspection was in reference to, Fleck said, “Sherman Street. . . . Do you know what I’m talking

about? They’re inspecting Sherman Street.” Id. Pawlowski immediately recognized the building,

which was the subject of his zoning intervention, and responded he needed to find out who the

inspector was, and that although there might not be much he could do, he would try. See id. When

Fleck asked what Sherman Street was, Pawlowski explained it was one of Haddad’s industrial

properties. See id.

        At the May 18, 2015, meeting with Haddad, Pawlowski acknowledged he and Haddad

needed to refrain from speaking to one another over the phone and joked about going to prison.

See Gov’t’s Ex. MF55-1818T at 1-2. Later in the conversation, Pawlowski asked Haddad how

much Haddad could raise for him by June 30—his United States Senate race fundraising deadline.

See id. at 3. Haddad responded he had “[$35,000] in his pocket” and $10,000 more from some of

his business partners for Pawlowski’s campaign, see id. at 3, but made clear he expected

Pawlowski’s help with the upcoming Sherman Street inspection in exchange, explaining “you

gotta tell these morons at the [C]ity . . . .” See id. at 3. Fleck asked if Haddad was talking about

Sherman Street. See id. Haddad confirmed, explaining how he had already waited two months

for the City to inspect the property and lost customers as a result of the delay. Id. Pawlowski

responded he was working on the issue. Id.

       After the meeting, Pawlowski intervened to ensure Haddad’s inspection would take place

and occur without any complications. On May 21, 2015, the City’s Building Standards and Safety

Bureau Director David Paulus and Pawlowski discussed the inspection of Haddad’s Sherman

Street property. See Trial Tr. Day 8 at 218. Later that day, Paulus wrote an email to Pawlowski,



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on which Dougherty was copied, informing him that the Sherman Street inspection was scheduled

for that afternoon. See id. at 217; Gov’t’s Ex. C-3. The next day, Paulus e-mailed Pawlowski and

Dougherty, advising them “the inspection for Mr. Ramsey on Sherman Street went well.” See

Trial Tr. Day 8 at 218-19; Gov’t’s Ex. C-4.

       On June 29, 2015, the day before Pawlowski’s June 30, 2015, campaign contribution

deadline, while discussing potential contributors with Pawlowski, Fleck mentioned an upcoming

meeting with Haddad and asked if Pawlowski helped him with his Sherman Street zoning and

inspection issues. See Gov’t’s Ex. MF95-225T at 1. Pawlowski confirmed he had helped Haddad

with “everything,” complained how he had “bent over backwards” for Haddad, and insisted

Haddad and others needed to help him so he could “get this thing done,” i.e., meet his fundraising

goal. See id. After Pawlowski texted Haddad, Haddad agreed to meet with him, and the next day,

Pawlowski and Fleck picked up a check from Haddad. See Trial Tr. Day 9 at 7-9.

       This evidence is more than sufficient for the jury to have found beyond a reasonable doubt

that two explicit quid pro quo agreements existed between Pawlowski and Haddad. As to Count

6, contrary to Pawlowski’s assertion that Haddad’s December 2014 check had no connection to

zoning, the Government’s evidence—including Haddad and Ruchlewicz’s conversations—shows

Haddad made a $2,500 contribution to Pawlowski in December 2014 with the expectation that

Pawlowski would assist him with his zoning issue. The conversations also show that Pawlowski

agreed, through Ruchlewicz, to assist Haddad with his zoning issue for the $2,500 campaign

contribution.

       As to Count 48, the evidence belies Pawlowski’s contention that Pawlowski’s assistance

with Haddad’s inspection was not connected to campaign contributions. The tape of the meeting

between Pawlowski and Haddad reflects that Haddad offered Pawlowski campaign contributions



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contingent on Pawlowski assisting with the Sherman Street property inspection. Rather than

divorcing the two topics during their discussion, Pawlowski responded he was “working” on the

inspection issue. A few days later, he personally involved himself in the matter by speaking to

Paulus to ensure the inspection would take place without any complications, raising the inference

that Pawlowski agreed to ensure Haddad’s property inspection would occur in exchange for

campaign contributions.

       Pawlowski’s additional argument that McDonnell’s official act requirement was not met

as to Counts 6 and 48 fails for two reasons. First, the matters at issue, a zoning application and a

property inspection, are both “specific, focused, and relatively circumscribed, such that [they] can

be put on an agenda, tracked for progress, and then checked off as completed” to qualify as a

“question” or “cause” that involves a formal exercise of governmental power under McDonnell.

136 S. Ct. at 2371.

       Second, despite Pawlowski’s contention that he took no decision or action to satisfy

McDonnell because he did not personally act on Haddad’s zoning application, a reasonable jury

could have nonetheless found that he took official action. Based on the evidence, including

Ruchlewicz informing Pawlowski about Haddad’s zoning issue, Ruchlewicz’s representations to

Haddad that Pawlowski had agreed to solve Haddad’s zoning problem, and Pawlowski’s

exclamations of the great lengths he had gone to help Haddad, a reasonable jury could have found

that Pawlowski “exert[ed] pressure” on Dougherty and Nemith to perform an official act, i.e.—

expedite Haddad’s zoning application—or “advise[d]” them to do so, knowing or intending that

such advice would result in Haddad’s application being expedited. See McDonnell, 136 S. Ct. at

2371 (holding an official act “may include [the official] using his official position to exert pressure

on another official to perform an ‘official act’ or to advise another official, knowing or intending



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that such advice will form the basis for an ‘official act’ by another official”). While the Court

agrees with Pawlowski that arranging a meeting between Haddad and Nemith or referring Haddad

to Nemith would not qualify as an official act under McDonnell, the evidence shows Pawlowski’s

actions went beyond simply arranging a meeting here.

       The same analysis applies to the inspection. Based on Pawlowski’s representation to

Haddad that he was “working” on the inspection issue, Pawlowski personally reaching out to

Paulus to discuss Haddad’s inspection, and Paulus’s follow up emails to Pawlowski advising him

of the inspection’s status, a jury could reasonably find that Pawlowski used his official position to

exert pressure on Paulus to perform an official act or advise him, knowing or intending that such

advice would form the basis of official action as well. See McDonnell, 136 S. Ct. at 2371.

       Northeast Revenue Service

       The next sub-scheme involves the firm Northeast Revenue Service. Counts 4 and 5 charge

Pawlowski with federal program bribery in connection with his solicitation of campaign

contributions and other benefits in exchange for the award of a contract for the collection of

delinquent real estate taxes to Northeast Revenue Service (Northeast). As to Count 4, Pawlowski

argues the Government failed to present sufficient evidence to prove that, on or about December

18, 2013, he solicited campaign contributions from Sean Kilkenny, an attorney whose firm agreed

to partner with Northeast for tax collection work, in exchange for awarding Northeast the

delinquent tax collection contract. Pawlowski notes Kilkenny testified his December 18, 2013,

campaign contribution check to Pawlowski was given without contingencies. As to Count 5,

Pawlowski argues the other benefits he received, Philadelphia Eagles playoff game tickets and a

dinner at Del Frisco’s Steakhouse, were also not in exchange for the tax collection contract. He

therefore contends there was no clear and unambiguous quid pro quo agreement between him and



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Kilkenny as required by McCormick and that there was no evidence he made a decision or took

any official action concerning the contract as required by McDonnell.

        The Court disagrees. The Government presented evidence from which a jury could find

that Pawlowski and Kilkenny had an agreement to exchange campaign contributions and other

items of value for the tax collection contract, despite no overt conversation between Pawlowski

and Kilkenny outlining the terms of this agreement. The evidence also supports the jury’s finding

of an official act.

        The Government first presented evidence bringing to light Kilkenny’s political importance

to Pawlowski: Kilkenny was the heir apparent of the Democratic party in Montgomery County.

See Trial Tr. Day 3 at 180. The support of Montgomery County, a wealthy county in Pennsylvania,

was critical for politicians who had state-wide and national political ambitions. See id.

        In 2013, around the time Pawlowski decided to run for governor, the City elected to issue

a request for proposals (RFP) 10 for a contract to collect delinquent real estate taxes for the City,

which was a contract to which the City had historically appointed Portnoff Law Associates, Ltd.

(Portnoff Law). See Trial Tr. Day 5 at 124, 127, 130, 137, Jan. 25, 2018. Before an RFP was

issued, in October 2013, Kilkenny and Northeast had a meeting with Pawlowski to market their

services and discuss the delinquent tax collection contract. See Trial Tr. Day 6 at 12. During the

meeting, Pawlowski expressed that Portnoff Law’s owner, Michelle Portnoff, whose firm had the



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   To secure a company to fulfil a contract for certain types of City work that was delineated in the
City’s purchasing ordinance, the City was required to issue an RFP. See Trial Tr. Day 6 at 90, Jan.
29, 2018. After the RFP was issued, bidders on the RFP would submit a technical proposal and a
cost proposal, and an evaluation committee would then assess the bids to make a recommendation
to the City’s purchasing office as to which company should receive the contract. See id. at 92-93.
The City’s purchasing office would formally award the contract, but no contract was official until
signed by the mayor. See id. at 93, 114. Legal services contracts, however, were generally an
exception to the RFP process and were awarded directly by the City’s solicitor’s office. See id. at
111-14.
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contract at that time, “had done nothing” for him. Id. After the meeting, Ruchlewicz informed

Kilkenny that Pawlowski did not like Portnoff because she was “not generous” with him. See Trial

Tr. Day 6 at 14.

       Shortly thereafter, the City advertised its RFP for the delinquent tax collection contract.

Before Portnoff submitted her firm’s proposal, she received a phone call from Pawlowski asking

her to contribute to his campaign for governor. See Trial Tr. Day 5 at 142-43. She declined to

contribute and informed Pawlowski it was “inappropriate” to have this type of discussion, given

the pendency of the City’s RFP for a contract for which her firm would submit a proposal. See id.

Despite Portnoff’s admonition, after Northeast’s submission of a proposal in response to the RFP,

Pawlowski called Kilkenny and asked him to contribute to his gubernatorial campaign. See Trial

Tr. Day 6 at 15. Kilkenny contributed on December 18, 2013, while Northeast’s proposal was

pending, because he “felt pressure” to do so. See id. at 18.

       While Northeast’s proposal was pending, Pawlowski, through Ruchlewicz, also asked

Kilkenny and Northeast for tickets to a Philadelphia Eagles playoff game. See Trial Tr. Day 6 at

20-21. Kilkenny’s colleague—John Rogers of Northeast—agreed to procure the tickets, and the

day of the game, on January 4, 2014, Kilkenny, Pawlowski, Ruchlewicz, and others ate dinner at

Del Frisco’s Steakhouse in Philadelphia. See id. at 21-23. During the meal, Ruchlewicz,

Pawlowski’s campaign staff, told Kilkenny that Northeast’s proposal for the tax collection contract

“looked good” in Pawlowski’s presence. See id. at 22-23. Neither Pawlowski nor Ruchlewicz

offered to pay for the meal, which Northeast bought. See id. at 22. The football tickets and dinner

were never reported by Pawlowski as any type of campaign gift. See id. at 177.

       After the City’s evaluation committee reviewed the proposals in response to the tax

collection contract RFP, the committee decided to recommend that the law firm Linebarger,



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Goggan, Blair and Sampson (Linebarger) be awarded the contract. See Trial Tr. Day 5 at 82.

Karen Csanadi, a member of the committee, testified that after the committee had decided to

recommend Linebarger, City Finance Director Garret Strathearn—who was not a member of the

evaluation committee—told her he wanted to check with Pawlowski to see if it was acceptable to

him if Northeast was not selected. See Trial Tr. Day 5 at 82.

        When Pawlowski learned that the committee was not recommending Northeast for the

contract, he told Strathearn that he wanted Northeast to win the contract because the firm was

“important” to him. See Trial Tr. Day 5 at 174-75. Pawlowski then directed Strathearn to ensure

that Northeast, not Linebarger, received the contract. See Trial Tr. Day 3 at 167-68. After

Pawlowski spoke with Strathearn, a new evaluation committee, which included Strathearn, was

convened. See Trial Tr. Day 5 at 90. Strathearn took steps to alter the committee’s proposal

ranking process to ensure Northeast’s proposal would be ranked highest by the new committee.

See Trial Tr. Day 5 at 176-78. As a result of Strathearn’s efforts, the contract was ultimately

awarded to Northeast. See Trial Tr. Day 5 at 146.

       The Government also presented evidence of Pawlowski’s expectations as a result of

Northeast being awarded the contract. On several occasions in June 2015, Pawlowski expressed

frustrations about Northeast’s failure to contribute to his campaign. See Gov’t’s Ex. SR403T at 1

(Pawlowski exclaiming to Ruchlewicz that he was “pissed off” about Northeast’s lack of campaign

contributions because he had “broken his back” over Northeast); Gov’t’s Ex. MF75-1846T at 1

(Pawlowski telling Fleck he was “getting really tired of” Northeast and that it was easy to go back

to Portnoff); Gov’t’s Ex. MF87-1152T at 1-2 (Pawlowski agreeing with Fleck that he had taken

“bullets” for Northeast and calling Kilkenny to solicit a $25,000 campaign contribution).




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       As to Count 4, a jury could reasonably conclude based on this evidence that Pawlowski—

who both told Kilkenny that Portnoff “had done nothing for him” while discussing the tax

collection contract with him and called Kilkenny to solicit a campaign contribution while

Northeast’s proposal for the contract was pending—entered into an explicit quid pro quo

agreement with Kilkenny—who knew Pawlowski preferred vendors who were “generous” and

who contributed to Pawlowski while Northeast’s proposal was pending—to exchange the tax

collection contract for campaign contributions. Pawlowski’s expressed frustration at the lack of

additional campaign contributions from Northeast and Kilkenny after the award of the contract to

Northeast is further evidence of this agreement.

       As to the Eagles tickets and meal at Del Frisco’s Steakhouse, Count 5, no proof of an

explicit quid pro quo is required here as the benefits provided to Pawlowski were not campaign

contributions. Outside the campaign contribution context, the Government is only required to

show proof of a quid pro quo, see United States v. Antico, 275 F.3d 245, 257-58 (3d Cir. 2001),

which it has. The evidence shows Pawlowski requested and received free Eagles tickets and

knowingly benefited from a paid-for meal while Northeast’s proposal for the tax collection

contract was pending before the City. In addition, Northeast’s proposal for the tax collection

contract was explicitly referenced at the meal by Ruchlewicz, Pawlowski’s campaign staff, in front

of Pawlowski and without objection from him—raising the inference that Pawlowski had

mentioned the contract to Ruchlewicz and agreed with his campaign staff’s assessment that

Northeast’s proposal “looked good.” Based on this evidence, a jury could reasonably conclude

that Northeast and Kilkenny provided Pawlowski with Eagles tickets and a meal in exchange for

official action, including the tax collection contract.




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       As to Pawlowski’s argument that he made no decision or took no action concerning the

contract to satisfy McDonnell, the evidence shows Pawlowski not only told Strathearn that he

wanted Northeast to win the contract, but also directed Strathearn to take steps to ensure Northeast

would be awarded the contract when it appeared that the evaluation committee was going to

recommend Linebarger for the contract. A jury could find such intervention to be an impermissible

attempt to “exert pressure” on another official to perform an official act, i.e., award the contract to

Northeast, or “advise another official,” intending such advice would form the basis of an official

act, both of which satisfy the official act requirement. See McDonnell, 136 S. Ct. at 2371.

       The Efficiency Network

       The Court next turns to the sub-scheme involving an important political stakeholder in

Western Pennsylvania, The Efficiency Network. All counts concerning The Efficiency Network

(TEN) relate to the award of a City contract for street lights. Counts 15 and 16 charge Pawlowski

with federal program bribery, and Counts 40 through 45 charge Pawlowski with honest services

wire and mail fraud. Specifically, Count 15 charges Pawlowski with soliciting a sponsorship for

a Pennsylvania Municipal League meeting from a principal of TEN, Patrick Regan, in exchange

for the street lights contract, and Count 16 charges Pawlowski with soliciting campaign

contributions from one of TEN’s political consultants, Co-Defendant James Hickey, in exchange

for the award of the street lights contract. Counts 40 through 45 charge Pawlowski with sending

emails and mails to other vendors and TEN in connection with the street lights contract bidding

process.

       As to Count 15, Pawlowski argues the phone call in which he makes a sponsorship

solicitation from Regan contains no reference to any business or contract. As to Count 16,

Pawlowski argues the Government failed to present evidence that he knew Hickey had any



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involvement with TEN, which is further supported by the fact that his request for campaign

contributions from Hickey makes no reference to TEN. To bolster his argument that no explicit

quid pro quo agreement between him and Hickey existed, he points to a recording in which Hickey

complained about not receiving City contracts and another recording in which Pawlowski said he

could understand why Hickey might not want to give campaign contributions.

       As to both Counts 15 and 16, Pawlowski contends any illegal agreements pertaining to

awarding TEN the street lights contract were orchestrated by Ruchlewicz, not him. He also argues

the Government failed to show he made a decision or took any action concerning the contract as

required by McDonnell. As to Counts 40 through 45, the honest services wire and mail fraud

counts, he argues the Government failed to prove any underlying fraud as there were no illegal

agreements between him and Regan or Hickey.

       Pawlowski’s arguments are unpersuasive.         The Government presented evidence that

Pawlowski had (1) a quid pro quo agreement with Regan to exchange the street lights contract for

a Municipal League meeting sponsorship from Regan; and (2) an explicit quid pro quo agreement

with Hickey to exchange the street lights contract for campaign contributions. It also presented

sufficient evidence from which a jury could find an official act. As there is sufficient evidence

from which a jury could find that Pawlowski entered into these agreements and took official action,

Pawlowski’s arguments as to the honest services fraud counts also fail.

       While Pawlowski’s March 10, 2015, solicitation call to Regan made no mention of a

contract, the evidence demonstrated this solicitation was part of Regan and Pawlowski’s quid pro

quo agreement, as they had discussed the street lights contract prior to the call. Prior to Pawlowski

making the March 10, 2015, call, Pawlowski and Regan had a breakfast meeting where the City’s

street lights contract was discussed. See generally Gov’t’s Ex. SR294-1000T. Ruchlewicz,



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Pawlowski’s campaign staff, was also present at the meeting, during which Pawlowski requested

that Regan send him language that could be incorporated into the City’s request for qualifications

(RFQ) 11 for the street lights contract and informed Regan that although he had met with another

provider about the contract, he would not “pick them or anything.” See id. at 2-3. After Pawlowski

left the meeting, Ruchlewicz told Regan the “deal was lined up,” Pawlowski wanted him to attend

his Mardi Gras fundraiser, and Pawlowski was “hoping for [a] $2,500 [contribution]” for his

United States Senate run. See id. at 4-6. Regan agreed to contribute, and Ruchlewicz reiterated

Pawlowski needed the City’s vendors to “give back a little bit.” Id. at 6. On February 13, 2015,

prior to the issuance of the RFQ, Regan contributed $1,500 to Pawlowski’s Mardi Gras fundraiser.

See Gov’t’s Ex. B-21.

       To ensure TEN would be favored in the RFQ and RFP process for the street lights contract,

Dougherty provided Public Works Director Craig Messinger, a member of the street lights contract

evaluation committee, with language favoring TEN to be incorporated in the City’s RFQ and RFP

for the street lights contract at Pawlowski’s direction. See Trial Tr. Day 3 at 85-88. The evaluation

committee disregarded the unsolicited language favoring TEN and opted to write an RFQ that was

“fair” and did not favor any particular company. See Trial Tr. Day 7 at 68-70, 73, 75, Jan. 30,

2018. Thus, the RFQ that was ultimately issued did not contain the language favoring TEN. See

Trial Tr. Day 3 at 89. After the issuance of this RFQ, Jennifer McKenna, another member of the

evaluation committee, testified that she felt her job was “in jeopardy” as a result of not

incorporating the language favoring TEN in the issued RFQ. See Trial Tr. Day 7 at 75-76.




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  A request for qualifications is a precursor to an RFP and is used to prequalify a company before
the company submits a full proposal in response to an RFP. See Trial Tr. Day 6 at 95.
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       On March 10, 2015, Ruchlewicz informed Pawlowski of the omission and complained to

Pawlowski that he had spent three months with Hickey preparing the RFQ language favoring TEN.

See Gov’t’s Ex. SR345-1001T at 3. Pawlowski was outraged that the evaluation committee had

sent out a different RFQ, see id., and asked Dougherty who needed to be fired over its omission,

see Trial Tr. Day 3 at 89. Pawlowski called Regan that same day to ask if TEN would be a sponsor

for the Pennsylvania Municipal League meeting in the City of Allentown and remarked on how

TEN had recently received a large contract from Penn State. See Gov’t’s Ex. SR345-1001T at 1.

On March 13, 2015, TEN contributed $5,000 to the City of Allentown, Office of the Mayor. See

Gov’t’s Ex. B-22.

       On March 27, 2015, the day the RFQ submissions were due, TEN failed to send in its

submission. See Gov’t’s Ex. SR354439T at 1. Ruchlewicz and Dougherty discussed how to

address the problem.     Id.   TEN was allowed to make an untimely submission, and when

Ruchlewicz told Pawlowski about TEN missing the deadline, Pawlowski asked Ruchlewicz if he

had taken care of the problem. See Gov’t’s Ex. SR360T at 1. Ruchlewicz assured Pawlowski that

the problem was resolved. See id. at 2. Five other companies submitted responses to the RFQ in

addition to TEN, and TEN and another company, Johnson Controls, were ultimately selected as

the two finalists to submit proposals in response to an RFP for the street lights contract. See Trial

Tr. Day 3 at 92. Once the RFP had been issued, Dougherty sent it directly to Hickey to give TEN

a competitive edge at Pawlowski’s behest. See id.

       On May 5, 2015, before the street lights contract was awarded, Fleck told Pawlowski that

Hickey would be sending campaign contributions, and Pawlowski responded he would want more

money from Hickey once the street lights contract was awarded, but that he did not want the money

to come directly from TEN. See Gov’t’s Ex. MF44T at 1. That same day, Pawlowski also told



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Ruchlewicz he wanted Hickey to donate $50,000 in campaign contributions. See Gov’t’s Ex.

SR391T at 1.

       The following day, Ruchlewicz met with Hickey and told him that Pawlowski wanted him

to contribute and TEN would be awarded the street lights contract. See Gov’t’s Ex. SR392-0921T

at 1-2. Hickey responded that Ruchlewicz could first ask Regan and another principal of TEN,

Troy Geanopulos, for contributions, and then Hickey would “reinforce” the request. Id. at 2.

Ruchlewicz then told Hickey that Pawlowski wanted Hickey to donate. Id. at 3. Hickey stated he

would contribute and explained how he was the one who taught Pawlowski how to “set up his own

system to raise money” and have the “[campaign manager] control the vendor chain . . . [s]o

everyone in the vendor chain is friendly.” Id. at 3-4. He suggested Ruchlewicz obtain a vendor

list and use it to fundraise. Id. at 4. Approximately one month after this meeting, the street lights

contract was awarded to TEN. See Trial Tr. Day 8 at 68.

       Based on this evidence, a reasonable jury could conclude both a quid pro quo agreement

existed between Pawlowski and Regan and an explicit quid pro quo agreement existed between

Pawlowski and Hickey. As to Count 15, which involves Regan and concerns Pawlowski’s non-

campaign contribution solicitation, only a quid pro quo is required. See Antico, 275 F.3d 157-58.

When Pawlowski’s solicitation—which occurred before TEN had submitted its response to the

RFQ—is viewed in light of Pawlowski’s campaign staff’s presence at Regan’s breakfast meeting

with Pawlowski, Pawlowski assuring Regan that his company would be awarded the contract, and

his campaign staff informing Regan that vendors “need to give back a little bit”—a jury could

reasonably find that Pawlowski and Regan had an agreement whereby Pawlowski would award

TEN the street lights contract in exchange for Regan “giving back” when requested.




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        As to Count 16, Pawlowski’s efforts to cherry-pick certain portions of the record to support

his argument that there was no explicit quid pro quo agreement between him and Hickey also fail.

When the evidence is reviewed as a whole, there is ample evidence from which a jury could

conclude that Pawlowski knew Hickey was affiliated with TEN and that an explicit quid pro quo

agreement concerning the street lights contract existed between the two, including: (1) Pawlowski

directing Dougherty to send Hickey the RFP for the street lights contract; (2) Fleck informing

Pawlowski that Hickey would be sending a check and Pawlowski responding that he would want

more money once the street lights contract was awarded; and (3) Ruchlewicz requesting campaign

contributions on Pawlowski’s behalf from Hickey—while mentioning the street lights contract and

before the contract was awarded to TEN—and Hickey agreeing to donate.

       The Government also presented sufficient evidence from which a reasonable jury could

find an official act. In light of Pawlowski’s repeated efforts to secure the street lights contract for

TEN, including directing Dougherty to provide both an RFQ favoring TEN to the street lights

contract evaluation committee and an RFP directly to Hickey, there is sufficient evidence from

which a jury could find that Pawlowski exerted pressure through Dougherty on other officials,

including evaluation committee members Messinger and McKenna, to award the street lights

contract to TEN. See McDonnell, 136 S. Ct. at 2371. Because the Government proved Pawlowski

entered into unlawful agreements with Regan and Hickey that resulted in an unfair contracting

scheme, Pawlowski’s arguments as to Counts 40 through 45 also fail.

       CIIBER/5C Security

       The next sub-scheme involves CIIBER/5C Security. Count 18 charges Pawlowski with

federal program bribery for soliciting campaign contributions from Jack Rosen, a wealthy New

York real estate developer, in exchange for steering a cybersecurity contract to Rosen’s company,



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CIIBER/5C Security. Counts 46 and 47 charge Pawlowski with Travel Act bribery based on

Pawlowski’s travels to New York in February and May of 2015 to discuss the cybersecurity

contract with Rosen. Pawlowski contends the Government failed to prove an explicit quid pro quo

between him and Rosen, relying on Rosen’s request to put up a “Chinese wall,” i.e., a

communication barrier, between their conversations about business development and politics. He

further argues the Government’s pay-to-play theory fails as to this sub-scheme because Rosen

contributed $30,000 in campaign contributions to Pawlowski to receive only a $35,000 contract.

       Pawlowski’s arguments are unpersuasive because the Government’s evidence at trial

demonstrated Pawlowski specifically sought to find a contract for Rosen so that he would be

motivated to raise campaign funds for Pawlowski in New York. See Trial Tr. Day 3 at 144-45

(Dougherty’s testimony describing Rosen as “an extremely wealthy, well-connected developer,”

who was “very active in Democratic circles [and] known as a prestigious fundraiser for the

Clintons and [] the Gores”), 148-49; Gov’t’s Ex. I-7 (Dougherty’s contemporaneous meeting notes

reflecting Pawlowski stating, “Rosen.      Get something.”); Gov’t’s Ex. I-8 (Dougherty’s

contemporaneous meeting notes with Pawlowski characterizing City Information Technology

Specialist Matt Leibert as saying, “5C[/CIIBER]. Good to go.”); Gov’t’s Ex. SR11173T at 1

(audiotape recording in which Ruchlewicz asks Dougherty for an update on the security contract,

to which Dougherty responds, “[W]e’re gonna give [CIIBER] a job, okay?           That’s [] my

instructions from the mayor.”).

       Pawlowski took several steps to ensure that his plans to award Rosen a cybersecurity

contract would remain covert. For example, during a January 6, 2015, meeting in Pawlowski’s

office, after Ruchlewicz and Pawlowski discussed Rosen’s security company, Ruchlewicz

reminded Pawlowski how he and Pawlowski “got them that deal.” See Gov’t’s Ex. SR264-RosenT



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at 1-2. Pawlowski responded, “No. I mean yeah . . . they responded to an RFP. Yes. Yes, I

know.” Id. at 2. After they left the office, Pawlowski told Ruchlewicz he had his office swept for

“bugs,” indicating he was becoming worried about his conduct being detected, and explained the

5C deal should not be discussed aloud: “[J]ust by saying yeah, we got the 5C deal. You know

what I mean? You just don’t want to say any of that stuff. You know? . . . And if, either of those

interns wants to be really pissy at us someday and say ‘hey, the mayor was talking about all these

deals they had.’. . . You know what I’m saying? . . . You gotta be careful.” Id. at 3.

       The next month, in February 2015, Pawlowski and Ruchlewicz met with Rosen in New

York to discuss the cybersecurity contract. See generally Gov’t’s Ex. SR308BT. During this

meeting, after discussing campaign contributions and Pawlowski’s Mardi Gras fundraiser,

Pawlowski informed Rosen, “[W]e’re going to do the contract.” Id. at 2-3. After discussing

contract details and how the City’s contracting process worked, Rosen told Pawlowski that it did

not matter if he failed to make money on the contract because the contract would eventually lead

to more business for him in Pennsylvania. See id. at 5. Rosen then signaled it was time to discuss

contributions: “[L]et’s get off business. I don’t like talking about both at the same time,” and then

he and Pawlowski proceeded to discuss fundraising for Pawlowski. See id. at 7.

       In the elevator ride with Ruchlewicz following the meeting, Pawlowski reflected on his

discussion with Rosen and told Ruchlewicz to avoid verbalizing his pay-to-play scheme,

cautioning: “[W]e gotta be careful. I can’t, I get uncomfortable when we start talking about hey,

we’re just gonna give you this. Who has the contract process? I’m so scared [nowadays] like,

who the hell knows who’s wearing a wire? Who’s tapped? Who’s not? You know what I mean?

I think I just gotta be, we just gotta be, we just gotta be really careful when we talk about this

stuff.” Id. at 7. Ruchlewicz agreed. See id.



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       In May 2015, during another meeting with Rosen in New York, Pawlowski informed Rosen

that the contract was “lined up” and described how all his departments would convene the

following week to assess security lapses. See Gov’t’s Ex. MF55-1425T at 1-2. Pawlowski then

asked if he and Rosen were done talking about “other business,” signaling that it was time to

discuss contributions. Id. at 2. Rosen responded, “Yeah. Put up a Chinese wall.” Id. at 3.

Pawlowski then told Rosen how he would like to raise as much money as possible before June 30,

and Rosen stated, “I think we will raise you some money.” Id. at 4. In months following this

meeting, Rosen and several of his family members contributed approximately $30,000 to

Pawlowski’s campaign. See Trial Tr. Day 10 at 118-21, Feb. 5, 2018.

       In addition to Pawlowski and Rosen’s own words as evidence of an explicit quid pro quo

agreement, the Government presented City employees who testified that the cybersecurity contract

was an unusual contract for the City, further suggesting the contract was created to provide work

for Rosen’s company and campaign contributions for Pawlowski. See, e.g., Trial Tr. Day 7 at 240-

41 (City Superintendent of Communications Michael Hilbert’s testimony that the network

information he was being asked to provide to CIIBER felt like “giving them the keys to our

network kingdom” and the requests for a cybersecurity contract appeared to be flowing from the

top down), 264-65 (City Information Technology Specialist Matthew Leibert’s testimony that the

CIIBER contract was not necessary for the City).

       Based on the snippets of conversation the jury heard between Rosen and Pawlowski—

where both the cybersecurity contract and campaign fundraising were discussed—Pawlowski’s

concern about discussing the “5C deal” aloud, and the City employees’ testimony, a reasonable

jury could have found an explicit quid pro quo agreement between Rosen and Pawlowski.

Pawlowski’s contention that a “Chinese wall” wall prevented a link between the cybersecurity



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contract and the solicitation of campaign contributions is belied by his actual conversations with

Rosen, which reveal the “Chinese wall” to be nothing more than an imaginary barrier. As to

Pawlowski’s argument that Rosen could not have entered into this unlawful agreement due to the

value of the contract, Rosen admitted his motivation for entering into the agreement was to gain a

foothold in the Pennsylvania market, not to make a large profit on the contract.

       Spillman Farmer Architects

       The next sub-scheme concerns Spillman Farmer Architects, an architecture company.

Count 8 charges Pawlowski with federal program bribery for soliciting a $2,700 campaign

contribution from Joseph Biondo, part owner of Spillman Farmer Architects (Spillman Farmer),

in a June 24, 2015, email, in exchange for the award of a contract for the design and construction

of several City pools. Pawlowski contends there is no evidence of an explicit quid pro quo

agreement between him and Biondo because (1) his initial June 2, 2015, request for a campaign

contribution—followed by the June 24, 2015, email from his campaign consultant—contained no

reference to the pools contract or any other work; and (2) the pool contract was awarded to

Spillman Farmer even though Biondo declined to give a campaign contribution.              Finally,

Pawlowski maintains he took no official action under McDonnell with respect to the pools contract.

       The Court disagrees. The evidence presented by the Government was sufficient for a

reasonable juror to find both that there was an explicit quid pro agreement between Pawlowski and

Biondo, and Pawlowski took official action. Even before the RFP for the pools contract was

issued, Pawlowski had explained to Dougherty that Spillman Farmer was important to him because

its members would be campaign contributors. See Trial Tr. Day 3 at 177. Once the RFP for the

pool contract was issued, Pawlowski set out to secure the pools contract for Spillman Farmer.




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       Dougherty, who not a member of the pools contract evaluation committee, initially

informed Superintendent of Parks Richard Holtzman, a member of pools contract evaluation

committee, that Pawlowski wanted the contract to be awarded to Spillman Farmer. See Trial Tr.

Day 3 at 178-79. Holtzman responded they should wait for the committee’s recommendation. See

id. After the pools contract committee evaluated the proposals submitted in response to the RFP

and interviewed the finalists, the committee’s preference for the contract appeared to be Integrated

Aquatics. See Trial Tr. Day 13 at 229-30, 233-36, Feb. 8, 2018. Dougherty was made aware of

the committee’s preference, and he told Holtzman to “take another look” at Spillman Farmer. See

Trial Tr. Day 13 at 236. Holtzman conveyed this information to the other committee members

and testified that he felt pressure to favor Spillman Farmer for the pools contract. See id. at 237.

When Holtzman reached out to one of Spillman Farmer’s references, however, the reference

provided him with a negative recommendation. See id. at 238. Holtzman informed Dougherty,

see id., who informed Pawlowski, and Pawlowski directed Dougherty to discuss the matter with

Ruchlewicz, see Trial Tr. Day 3 at 179-80.

       Ruchlewicz subsequently called Biondo. He notified him that “everybody liked” his

company’s pools project bid and asked Biondo to provide him with another reference “as soon as

possible” so that Spillman Farmer could be awarded the contract. See Gov’t’s Ex. SR35090T at

1-2. Biondo knew Ruchlewicz was not a representative of the City, and he testified that he had

never received this type of “inside information” about a pending municipal contract. See Trial Tr.

Day 14 at 139, Feb. 12, 2018. Nonetheless, Biondo agreed to provide Ruchlewicz, Pawlowski’s

campaign staff, with a new reference, see Gov’t’s Ex. SR35090T at 2, and Spillman Farmer was

notified it was awarded the contract on April 9, 2015, see Trial Tr. Day 13 at 244-45.




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       Before the contract was officially signed by Pawlowski, on June 2, 2015, Pawlowski and

Biondo spoke on the phone. See Gov’t’s Ex. SR402-1602T at 1-2. During this conversation,

Pawlowski asked if Spillman Farmer could contribute $2,700 to his campaign. See id. Biondo

responded he would have to “run it up the flagpole.” See Trial Tr. Day 14 at 141.           While

Pawlowski did not reference the pool contract explicitly on the phone, he made clear to Ruchlewicz

after the phone call ended that he expected contributions from Biondo and Spillman Farmer in

exchange for the pools contract. After ending his call with Biondo, Pawlowski immediately

exclaimed, “I’ll run it up the flag pole, what the hell does that mean?” See Gov’t’s Ex. SR402-

1602T at 2. When Ruchlewicz asked who Pawlowski had just spoken to on the phone, Pawlowski

answered Biondo. Id. Ruchlewicz remarked that Spillman Farmer received the pools contract, to

which Pawlowski laughingly replied, “Yes, I know. Better run it up the flagpole fairly quick,” id.,

suggesting that Biondo’s donation, as per the parties’ agreement, needed to be given before his

June 30, 2015, fundraising deadline if the contract was going to be signed. Pawlowski’s campaign

staff emailed Biondo on June 24, 2015, asking about the possible contribution and informing him

about the June 30, 2015, deadline. See Gov’t’s Ex. E-5. Biondo responded to the email on June

29, 2015, and stated he would not be contributing at that time. See Gov’t’s Ex. E-34. Pawlowski

told Fleck to call Biondo again because “he’s doing all my pools right now.” See Gov’t’s Ex.

MF99T at 1.

       Based on this evidence, including Pawlowski’s campaign staff directly calling Biondo—

who did not question the call or the information relayed to and requested from him—and

discussing the City’s pools contract with him while his company’s proposal was pending, a jury

could find that Biondo, through Ruchlewicz, had an explicit quid pro quo agreement with

Pawlowski. Furthermore, given Pawlowski’s interference in the contracting process to ensure the



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award of the pools contract to Spillman Farmer and expectations that Spillman Farmer contribute

to his campaign after the award of the contract, a jury could infer that Pawlowski’s June 24, 2015,

email was an effort by Pawlowski to receive his end of the bargain before he officially signed the

contract. While Biondo may have changed his mind about executing their agreement, a jury could

still find he entered into the agreement with Pawlowski through his conversation with

Ruchlewicz—who called Biondo at Pawlowski’s direction.

        As to Pawlowski’s argument that there could be no agreement between him and Biondo

because he signed the pools contract despite Biondo’s failure to donate, this argument is undercut

by the fact that the contract was signed on July 2, 2015, the day the Federal Bureau of Investigation

raided City Hall to investigate Pawlowski. See Gov’t’s Ex. E-7. Given the timing of the raid and

the signing of the contract, a jury could infer that Pawlowski signed the contract to avoid any

appearance of impropriety.

        Finally, the evidence also demonstrated Pawlowski (1) directly informed Dougherty and

indirectly informed committee member Holtzman that he wanted the contract to be awarded to

Spillman Farmer and (2) asked Dougherty to speak to Ruchlewicz about Spillman Farmer’s

negative reference. Based on this evidence, a jury could certainly find that Pawlowski’s actions

were an impermissible attempt to “exert pressure” on other City officials to perform an official

act, i.e., award the contract to Spillman Farmer, or advise them, knowing or intending that such

advice would lead them to award the contract to Spillman Farmer. See McDonnell, 136 S. Ct. at

2371.

        McTish, Kunkel & Associates

        McTish, Kunkel & Associates, an engineering firm, is involved in the next sub-scheme.

Count 10 charges Pawlowski with federal program bribery for soliciting campaign contributions



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from engineer Matthew McTish, a principal of McTish, Kunkel & Associates, on April 27, 2015,

in exchange for an engineering contract. Pawlowski contends he and McTish did not enter into an

explicit quid pro quo agreement, noting there was no agreement made during the April 27, 2015,

recorded meeting and that there could not be an agreement for some unspecified future act, as

alleged in the Indictment.

       The Government presented evidence from which a reasonable juror could find an explicit

quid pro quo agreement between Pawlowski and McTish. The Government first presented

evidence of McTish and Pawlowski’s relationship and McTish’s familiarity with Pawlowski’s pay-

to-play schemes. McTish explained he and Pawlowski would often have discussions about the

type of work his firm would like to do for the City and campaign contributions in the same

conversation. See Trial Tr. Day 13 at 45 (McTish’s testimony describing how Pawlowski would

discuss engineering projects for the City with him and then “slide right in to how he needed my

help making a campaign contribution for the campaign”). He believed he could not obtain work

from the City unless he donated to Pawlowski and observed that “there was a relationship between

getting work [from the City] and making campaign contributions.” See id. at 142, 145.

       One specific engineering project in which McTish was interested was the Chew Street

project, a street improvement project along Chew Street. Pawlowski first learned of McTish’s

desire to be awarded this project prior to the April 27, 2015, meeting Pawlowski references. In

December 2014, Ruchlewicz informed Pawlowski that he, City Controller Mary Ellen Koval, and

Dougherty had found some work, the Chew Street project, for McTish pursuant to Pawlowski’s

request. See Gov’t’s Ex. SR223DT at 1. Pawlowski expressed his approval, and Ruchlewicz told

him to “hit [McTish] up” for his holiday party. Id. Pawlowski agreed and said he would do so the

following week. See id. A few days later, Ruchlewicz relayed to McTish that he had told



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Pawlowski that McTish would be contributing $2,500 and that Pawlowski responded that as soon

as the Chew Street project came across his desk, he would “give it the rubber stamp, sign it, seal

it,” and it would be McTish’s. See Gov’t’s Ex. SR230T at 1. McTish then made campaign

contributions to both Koval, see Gov’t’s Ex. D-15, and Pawlowski, see Gov’t’s Ex. D-17.

        By the time Pawlowski and McTish met on April 27, 2015, however, McTish was angry

because he had not yet received a contract for the Chew Street project. See Trial Tr. Day 13 at 61,

63, 69. Before Pawlowski arrived to his meeting with McTish on April 27, Ruchlewicz spoke with

McTish to assure him that an RFP would be forthcoming for Chew Street and told him that

Pawlowski would confirm this information. See Gov’t’s Ex. SR386-1258T at 1. After Pawlowski

arrived, he gave McTish a campaign pitch regarding his run for Senate and asked him to donate

$21,600 to his campaign by June 30, 2015. See Trial Tr. Day 13 at 72-77; Gov’t’s Ex. SR386-

1258T at 2. McTish and Pawlowski then discussed bridges, roads, and infrastructure. See Trial

Tr. Day 13 at 73. After McTish and Pawlowski spoke, Ruchlewicz asked McTish if he and

Pawlowski were “squared away” and if he and Pawlowski had discussed bridges, which McTish

affirmed. Id. That same day, McTish received an email from Pawlowski’s campaign consultant,

who was also at the lunch meeting, requesting campaign contributions. See id. at 74. McTish

never received the Chew Street project, and he contributed $2,500 to Pawlowski’s campaign after

the June 30, 2015, deadline. See id. at 76.

       Despite McTish never being awarded the Chew Street project, a jury could nonetheless

find evidence of an explicit quid pro quo agreement between Pawlowski and McTish from the

evidence as a whole. First, at the time of Pawlowski’s April 27, 2015, campaign contribution

solicitation from McTish, Pawlowski knew through Ruchlewicz that McTish wanted engineering

work from the City and to be awarded the Chew Street project. Second, immediately prior to



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Pawlowski’s campaign pitch on April 27, 2015, Ruchlewicz discussed the Chew Street project

with McTish, raising the inference that Ruchlewicz, as campaign staff, was acting as a buffer for

Pawlowski and speaking on his behalf when he told McTish that Chew Street would still be

awarded to him. Third, while there is no direct evidence that Pawlowski and McTish discussed

Chew Street on April 27, they did discuss campaign contributions and City work. Ruchlewicz

mentioning Chew Street to McTish immediately before McTish met with Pawlowski—who then

discussed City work with McTish and asked for campaign contributions—suggests a link between

the Chew Street project and campaign contributions. And fourth, after Pawlowski and McTish

spoke, McTish confirmed to Ruchlewicz that he and Pawlowski were “squared away.” Based on

this evidence, in the context of Pawlowski and McTish’s relationship and each being aware of

what the other desired, one campaign contributions and the other the Chew Street project, a jury

could infer that an explicit quid pro quo agreement existed between Pawlowski and McTish.

       To the extent Pawlowski argues the Government failed to prove an official act under

McDonnell because he never took any action to award McTish the Chew Street project, this

argument fails as a public official need not make a decision or take any action on a “question,

matter, cause, suit, proceeding, or controversy” to satisfy McDonnell; rather, it is enough that the

official “agree to do so.” See McDonnell, 136 S. Ct. at 2371. Here, the Government presented

evidence that Pawlowski wanted McTish to be awarded an engineering contract, had his operatives

find a specific contract for him, the Chew Street contract, and then agreed to “stamp, sign, and

seal” it once it came across his desk. This evidence is sufficient for a jury to conclude that

Pawlowski agreed to “make a decision” or “take an action” on the City contract to satisfy

McDonnell. See id.




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       Norris McLaughlin

       The next sub-scheme involves the law firm Norris McLaughlin.            Count 17 charges

Pawlowski with federal program bribery for soliciting campaign contributions from Co-Defendant

Scott Allinson and his law firm, Norris McLaughlin, in exchange for a parking authority

solicitorship contract. Pawlowski argues there was no explicit quid pro quo between him and

Allinson, noting that a recording of a May 20, 2015, meeting in which he requested campaign

contributions from Norris McLaughlin attorneys contains no mention of an exchange of a contract

for campaign contributions. He further argues that prior to the May 20, 2015, meeting, he had

expressly instructed Fleck to “not cross the line” during the meeting. In addition, he argues the

Government failed to prove an official act under McDonnell because he did not intervene to award

any solicitorship contract to Norris McLaughlin and, in fact, he had no actual authority to make

such an award.

       The Government presented sufficient evidence from which a reasonable jury could find an

explicit quid pro quo between Pawlowski and Allinson and an official act under McDonnell. The

Government’s tape recordings showed that months before the May 20, 2015, meeting took place,

Allinson, Fleck, and Ruchlewicz discussed how Allinson’s law firm would receive the parking

authority solicitorship contract in exchange for campaign contributions to Pawlowski on several

occasions. See, e.g., Gov’t’s Ex. SR21602T at 1-2 (December 12, 2014, audiotape recording in

which Ruchlewicz informs Allinson that a partner at Norris McLaughlin, Richard Somach, would

receive the parking authority solicitorship because Pawlowski “controls all the [parking authority]

board members” and asks Allinson to help sponsor Pawlowski’s upcoming holiday party); Gov’t’s

Ex. SR286T at 1-3 (January 22, 2015, audiotape recording in which Ruchlewicz tells Allinson that

his “parking authority problems” have been solved and asks for Allinson’s help to raise money for



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Pawlowski’s United States Senate campaign); Gov’t’s Ex. SR287T at 1 (January 23, 2015,

audiotape recording in which Ruchlewicz informs Allinson that he, Fleck, and Pawlowski had

discussed their agreement); Gov’t’s Ex. SR301T at 5 (February 3, 2015, audiotape recording in

which Allinson explains to Fleck that if he were to receive a phone call requesting that he oversee

the parking authority solicitorship, then he would “get a hundred percent of the[] kind of credit

that turns into money that goes out of [his] checkbook where [Fleck and Ruchlewicz] want it to

go”).

        The Government also showed that Pawlowski was aware of these discussions, and the pay-

to-play scheme received his approval. For example, after Allinson had dropped off a campaign

contribution check at Pawlowski’s Mardi Gras fundraiser on February 13, 2015, Ruchlewicz told

Pawlowski, “Installment number one is in,” referring to the check Allinson had dropped off. See

Gov’t’s Ex. SR318T at 4. During the same conversation, Ruchlewicz informed Pawlowski that

Allinson had told him to make sure Pawlowski knew Allinson had brought a check and that he had

told Allinson they could continue with the “Somach to Solicitor plan,” i.e., the plan to appoint

Norris McLaughlin Attorney Richard Somach as the parking authority solicitor. Id. Pawlowski

raised no questions about the information Ruchlewicz presented and noted his approval,

responding “That’s good.” Id.

        A couple months later, Pawlowski explained to Ruchlewicz that he was working on having

the parking authority solicitorship assigned to Norris McLaughlin. See Gov’t’s Ex. SR365CT at

1. Ruchlewicz stressed the terms of the agreement—the solicitorship had to be awarded to Norris

McLaughlin through Allinson even though Somach would receive the work because Allinson was

the firm’s managing partner and controlled the political action committee money. See id. at 2.




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Pawlowski confirmed his understanding of the agreement, responding, “[T]hat’s logical” and

“[G]otcha.” Id.

       These conversations took place prior to the May 20, 2015, meeting Pawlowski references.

At that meeting, Pawlowski made a campaign pitch to Norris McLaughlin attorneys, including

Allinson, explaining why he would make a good candidate for Senate and asking the law firm to

raise $25,000 in campaign contributions before June 30, 2015. See Gov’t’s Ex. MF58T at 1-2.

The day before Pawlowski’s campaign contribution deadline, June 29, 2015, Fleck told Pawlowski

that Norris McLaughlin “came through” with $17,300 in campaign contributions, and Pawlowski

responded, “Great. . . . Awesome.” Gov’t’s Ex. MF95-0227T at 1. When Fleck then raised the

issue of appointing Somach to the parking authority, Pawlowski did not question the connection

between the appointment and the contributions, but noted he first needed to get “rid” of the current

solicitor. Id. Pawlowski stated that although he did not control the board in charge of the parking

authority, he could talk to the board, and he and Fleck then discussed alternate means of forcing

the current solicitor to withdraw. See id. at 2.

        When the May 20, 2015, meeting is viewed in light of these conversations, a reasonable

jury could find there was an explicit quid pro quo agreement between Pawlowski and Allinson:

Allinson would ensure campaign contributions were donated from Norris McLaughlin to

Pawlowski in exchange for Somach’s appointment to the parking authority solicitorship, a matter

for which Allinson would receive origination credit.

       A reasonable jury could also find the solicitorship contract to be an official act under

McDonnell. While Pawlowski never took any action to award the solicitorship to Somach, under

McDonnell, “it is enough that [Pawlowski] agree[d] to do so.” See McDonnell, 136 S. Ct at 2370-

71 (citing Evans, 504 U.S. at 268). From Pawlowski’s conversations with Fleck and Ruchlewicz,



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in which Pawlowski acknowledged and agreed Somach would receive the solicitorship in

exchange for campaign contributions from members of the Norris McLaughlin law firm, a

reasonable jury could find that Pawlowski agreed to take official action concerning the

solicitorship.

        Pawlowski’s argument that the Government failed to prove an official act under McDonnell

because he had no authority to take any official action on the parking authority solicitorship

contract is also unpersuasive. Pawlowski’s statement that he could talk to the board in charge of

the parking authority concerning Somach’s appointment could allow a reasonable jury to infer that

Pawlowski either intended to “exert pressure” on members of the board in charge of the parking

authority to appoint Somach or “advise” them on who to appoint as solicitor, knowing or intending

such advice would form the basis of an official act. See id. at 2370-71. 12

        Stevens & Lee

        The final sub-scheme involves the law firm Stevens & Lee. Counts 11, 12, 13, and 14 arise

out of Pawlowski’s solicitation of campaign contributions from two attorneys at Stevens & Lee in

exchange for the award of legal work. Specifically, Counts 11 and 12 charge Pawlowski with

federal program bribery and attempted Hobbs Act extortion under color of official right for

soliciting campaign contributions from Jonathan Saidel, who was of counsel at Stevens & Lee.

Counts 13 and 14 also charge Pawlowski with federal program bribery and attempted Hobbs Act



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   In his Rule 29 Supplement, while discussing the Norris McLaughlin scheme but without any
citation to the record, Pawlowski makes the cursory argument that the Government “misled the
jury by raising the issue of [a] meeting with the [G]overnment in relation to Talen Energy
Company.” See Suppl. 24. Because the Court is not sustaining Pawlowski’s conviction as to the
Norris McLaughlin sub-scheme on any evidence related to Talen Energy, and it appears testimony
related to Talen Energy was not presented in the Government’s case-in-chief, see Brodie¸403 F.3d
at 133 (explaining when a court reserves ruling on a Rule 29 motion made at the close of the
Government’s case, it must determine whether acquittal was appropriate based solely on the
evidence presented by the Government), the Court does not address this argument.
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extortion under color of official right based on his solicitation of campaign contributions from

Donald Wieand, another attorney affiliated with Stevens & Lee. Pawlowski argues a judgment of

acquittal should be entered as to all four counts because the Government failed to establish an

explicit quid pro quo agreement between him and Saidel or Wieand or that he took any official act

for either of them.

        As to Saidel, Pawlowski contends there was no explicit quid pro quo agreement because

he never requested campaign contributions from Saidel, and only stated he would “reconsider”

giving work to Stevens & Lee at a March 12, 2015, meeting between the two. In addition,

Pawlowski argues that to the extent he referred Saidel to City Solicitor Susan Wild to discuss legal

work Stevens & Lee might be able to receive from the City, he did nothing more than arrange a

meeting, which cannot constitute an official act under McDonnell.

        As to Wieand, Pawlowski argues that while he requested a contribution at a meeting he

had with Wieand in January 2015, there was no discussion of the contribution being made in return

for any specific type of legal work; rather, Pawlowski only told Wieand that Wild would be calling

him. Pawlowski further argues Wieand’s contributions were not evidence of an explicit quid pro

agreement as Wieand had contributed in the past. Pawlowski also argues that while Wieand

testified that he agreed to contribute to Pawlowski during a June 8, 2015, solicitation call from him

because he felt that he would not receive a call from Wild unless he gave, Wieand’s unilateral,

subjective belief that he needed to contribute to meet with Wild cannot form a clear and

unambiguous agreement. Further, he again argues the only official act he could have taken was

arranging a meeting between Wieand and Wild, which does not meet McDonnell’s definition of

an official act.




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       The Court agrees with Pawlowski that the Government failed to prove an explicit quid pro

quo agreement as to either Saidel or Wieand. The Government showed that Wieand met with

Pawlowski in the City of Allentown on January 15, 2015, to ask Pawlowski to award some legal

work to Stevens & Lee. See Trial Tr. Day 2 at 114, Jan. 22, 2018. At the meeting, Wieand asked

Pawlowski about the possibility of receiving legal work from the City, but Pawlowski responded,

“I don’t deal with that. You’re going to have to talk to Susan Wild.” See id. at 124.

       On February 10, 2015, Ruchlewicz told Pawlowski that he had complained to Saidel about

Stevens & Lee sending a $100 check to Pawlowski because it was “like a slap in the face.” See

Gov’t’s Ex. SR315FT at 2. Pawlowski told Ruchlewicz about his January 15, 2015, meeting with

Wieand, Wieand’s request for more City work, and stated Stevens & Lee needed to “make up”

and send more campaign contributions. See id. at 2-3. Ruchlewicz said he was going to send out

invitations for Pawlowski’s Mardi Gras fundraiser, and Pawlowski observed the fundraiser was “a

way for Stevens and Lee to show that they actually love me.” Id. When Ruchlewicz suggested

$5,000 as a target amount, Pawlowski responded “at the very least,” noting he had given the firm

“millions[] of dollars’ worth of legal work,” but the firm treated him like “absolute crap.” Id.

       A month later, on March 12, 2015, Saidel met with Pawlowski and Ruchlewicz in an effort

to convince Pawlowski to award legal work to Stevens & Lee. See Trial Tr. Day 2 at 190-91. At

the meeting, as Saidel attempted to pitch Stevens & Lee, Pawlowski complained he “had given

[the firm] millions of dollars of work in the past,” but the firm had only given him “a hundred

bucks.” Gov’t’s Ex. SR347-1547T at 1. Saidel responded, “[L]ife is a two[-]way street, which

you and I both understand.” Id. Pawlowski agreed and stated he was willing to reconsider Saidel’s

request to give work to Stevens & Lee. See id. Later in the meeting, Pawlowski mentioned that

he, Ruchlewicz, and Saidel should all meet with his new City solicitor. See id. at 4. At the end of



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the meeting, Saidel asked if Pawlowski would “take care of the Stevens and Lee thing, to which

Pawlowski responded, “Yeah . . . it’s not a big lift.” Id. at 5.

       A few days later, Ruchlewicz mentioned to Pawlowski that Wieand only contributed $25

at a recent event. See Gov’t’s Ex. 362bT at 1. Irritated, Pawlowski suggested they let Saidel know

about Wieand’s meager donation and stated if Wieand would have donated $2,500, “it would have

been a totally different story.” Id. Ruchlewicz called Saidel, in Pawlowski’s presence, and told

him that “twenty[-]five is a good number if it has two zeros behind it.” Id. at 2. Saidel responded

he would take care of it. See id. at 3.

         On June 8, 2015, Pawlowski called Wieand and told him he would be receiving a call

from Wild. See Trial Tr. Day 2 at 128-29. Pawlowski then launched into a campaign pitch and

asked Wieand to contribute $1,000. Id. at 129-30. Wieand agreed to contribute, believing that if

he said no, he would not receive a call from Wild. Id. at 130. After the call, Wieand was angry

because he thought Pawlowski was just “playing [him]” to obtain campaign contributions, but then

he feared that he would be involved in a pay-to-play situation if he did receive a call from Susan

Wild. See id. at 130. Wanting no part of such a situation, Wieand never sent a check to Pawlowski.

Id. at 131-32.

       A week later, on June 15, 2015, Pawlowski and Fleck discussed Saidel approaching Fleck

at Ruchlewicz’s wedding and asking when Stevens & Lee would receive work from the City. See

Gov’t’s Ex. MF87-1140T at 1-2. Pawlowski laughed and noted that Stevens & Lee might receive

some work in the future but the way his system worked, nothing would happen until after his June

30, 2015, campaign contribution deadline. See id. at 2.

       While Pawlowski’s conversations with Wieand and Saidel demonstrate he expected

Stevens & Lee to engage in his pay-to-play scheme, they fail to show any agreement between the



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parties or elucidate the terms of any alleged agreement. See Menendez, 291 F. Supp. 3d at 624

(explaining the “relevant inquiry to determine if the Government has met its burden with respect

to [bribery] counts” that involve political contributions is “whether a rational juror could find that

there was a quid pro quo and that the charged [d]efendant was aware of its terms”). At most, the

evidence suggests that Saidel and Wieand agreed to contribute to Pawlowski in exchange for the

possibility of receiving unspecified legal work from the City at some point in the future. While

such evidence may support a finding of a quid pro quo agreement in the non-campaign contribution

context, more is required in the campaign contribution context. Compare United States v. Kemp,

500 F.3d 257, 282 (3d Cir. 2007) (explaining that “the [G]overnment need not prove that each

[bribe] was provided with the intent to prompt a specific official act” and sustaining convictions

for honest services fraud on a bribery theory when bribes were offered in exchange for a flow of

favorable treatment outside campaign contribution context) with McCormick, 500 U.S. at 273

(explaining that when bribes are made “in return for an explicit promise or undertaking by an

official to perform or not perform an official act,” “the official asserts that his conduct will be

controlled by the terms of the promise or undertaking” in the campaign contribution context).

Here, the evidence does not support the finding that any campaign contributions or agreements to

donate were made in exchange for Pawlowski’s promise or undertaking to perform an official act.

While Pawlowski did agree to “take care” of Stevens & Lee in his conversation with Saidel, this

reference to some unspecified future action, in conjunction with Pawlowski’s later statement that

Stevens & Lee might receive legal contracts in the future, fail to reveal the quo of the explicit quid

pro quo, i.e., the subject of Pawlowski’s promise or undertaking. Because the evidence is




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insufficient to establish an explicit quid pro quo between Pawlowski and Wieand or Saidel,

Pawlowski’s motion for judgment of acquittal was granted as to Counts 11, 12, 13, and 14. 13

       B.      Mail and Wire Fraud

       Counts 20-22, 26-28, 30, and 33-37 charge Pawlowski with mail or wire fraud arising out

of the Northeast, TEN, and Spillman Farmer schemes, which unfairly eliminated other companies

or firms that were seeking the City contracts that were ultimately awarded to those entities. A

conviction for mail or wire fraud requires “(1) the defendant’s knowing and willful participation

in a scheme or artifice to defraud, (2) with the specific intent to defraud, and (3) the use of the

mails or interstate wire communications in furtherance of the scheme.” Antico, 275 F.3d at 261.

       As to these counts, relying on the arguments he made as to the Northeast, TEN, and

Spillman Farmer schemes above, the thrust of Pawlowski’s argument is that the Government failed

to prove mail or wire fraud because it did not provide any evidence of an explicit quid pro quo

agreement between him and Kilkenny, Regan, or Biondo. As an initial matter, the Court notes that

an explicit quid pro quo or quid pro quo is not required for a mail or wire fraud conviction, and

Pawlowski fails to provide any support for his assertions to the contrary. Given that the Court has

already found there was sufficient evidence from which a jury could find either a quid pro quo or

an explicit quid pro quo where applicable, however, Pawlowski’s argument fails nonetheless.




13
   As the Court granted Pawlowski’s motion on Counts 11, 12, 13, and 14 on the basis that the
Government failed to prove an explicit quid pro quo, it does not reach Pawlowski’s arguments as
to whether his actions qualified as an official act under McDonnell.
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       C.      False Statements

       Counts 49-55 charge Pawlowski with making false statements to agents of the Federal

Bureau of Investigation. 14 A false statement conviction requires that a defendant “knowingly and

willfully . . . make[] a[] materially false, fictitious, or fraudulent statement or representation” in

any matter within the jurisdiction of the Government of the United States. See 18 U.S.C.

§ 1001(a)(2). Pawlowski argues a judgment of acquittal should be entered as to each of these

counts because the Government failed to prove his statements were false.

       Pawlowski’s arguments are unpersuasive. As to Counts 49 and 50, the voluminous

evidence described above regarding Pawlowski’s pay-to-play scheme is more than sufficient for a

reasonable juror to conclude that Pawlowski involved himself in the City’s contracting process

and influenced which companies, firms, and individuals received certain City contracts and that

Pawlowski’s denials of such involvement or influence were false.

       As to Count 51, a jury could also conclude that Pawlowski’s statement that he never

directed City Solicitors to award certain law firms legal work were false. The Government

presented testimony from Jerry Snyder, the City Solicitor prior to 2015, about an instance in which

Pawlowski called him at home and directed him to award a specific lawsuit to Duane Morris



14
   Specifically, these counts charge Pawlowski with falsely stating he: (1) “stayed out of the
contract bidding process in the City of Allentown” (Count 49); (2) “did not try to influence the
awarding of contracts from the City of Allentown to particular vendors” (Count 50); (3) “did not
tell the City of Allentown City Solicitor to whom to award City of Allentown contracts” (Count
51); (4) “has never used a list of vendors and the amount of money they have received in contracts
from the City of Allentown to determine how much money those vendors should contribute to his
political campaign” (Count 52); (5) “has never taken anything of value from anyone bidding on a
City of Allentown contract, when he knew that he did take a free meal and tickets to a Philadelphia
Eagles playoff game from a company bidding on a city contract” (Count 53); (6) “has never taken
any official action to benefit Ramzi Haddad” (Count 54); and (7) “had no role in selecting or not
selecting the law firm Stevens and Lee for contracts with the City of Allentown.” (Count 55).
Indict. 59.

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instead of Norris McLaughlin, the firm Snyder had already chosen. See Trial Tr. Day 14 at 263-

65. In addition, Susan Wild, the City Solicitor in 2015, testified that Pawlowski recommended a

particular attorney from Norris McLaughlin to work on a legal matter concerning a trust. See Trial

Tr. Day 14 at 60-61, 71. The Government also presented evidence concerning Pawlowski’s plan

to award Norris McLaughlin a contract related to the parking authority in exchange for campaign

contributions, raising the inference that he would have to direct Wild, who had the authority to

award legal contracts, to do so.

       Concerning Count 52, several witnesses testified that Pawlowski obtained lists of vendors

who had City contracts and described how Pawlowski used these lists to solicit campaign

contributions and determine how much in contributions each vendor should give. See, e.g., Trial

Tr. Day 3 at 51 (Dougherty’s testimony describing Pawlowski’s requests for lists of law firms that

had City contracts or had otherwise received business from the City in order to identify potential

campaign contributors); Trial Tr. Day 6 at 108 (City Purchasing Agent Beth Ann Strohl’s

testimony stating Dougherty asked her for a list of City vendors and the amount each vendor was

compensated for City work); Trial Tr. Day 9 at 167-68 (Ruchlewicz’s testimony explaining

Pawlowski’s use of vendor lists); Trial Tr. Day 13 at 176-77 (Fleck’s employee Celeste Dee’s

testimony stating Pawlowski brought a thumb drive to Fleck’s office containing the names of

companies and individuals who had received City contracts). Contrary to Pawlowski’s contention,

this is more than sufficient evidence from which a reasonable jury could find that Pawlowski

falsely stated he had never used vendor lists to determine the amount of campaign contributions to

solicit from vendors.

       As to Count 53, although Pawlowski argues he never requested the free meal or Eagles

tickets he received from Northeast, the Government’s evidence demonstrated he requested the



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Eagles tickets through Ruchlewicz and did not offer to pay for the dinner with Northeast and

Kilkenny at Del Frisco’s Steakhouse. This is evidence from which a jury could have reasonably

found that Pawlowski’s statements with respect to the meal and Eagles tickets were false.

       And as to Count 54, while Pawlowski contends he never took any official action related to

Haddad, the Government’s evidence shows a jury could have rationally found he impermissibly

exerted pressure on Dougherty, Nemith, and Paulus to take official action as to Haddad’s zoning

and inspection matters. Finally, as to Count 55, Dougherty specifically testified that Pawlowski

told him Stevens & Lee “fell out of favor” with him because of its lack of campaign contributions,

raising the inference that Pawlowski steered legal work away from Stevens & Lee and toward

other firms who had contributed. See Trial Tr. Day 3 at 206-07. This evidence is sufficient for a

jury to have found that Pawlowski’s statements were false as to Counts 54 and 55. 15




15
   As previously noted, Pawlowski filed a Supplement to his Rule 29 motion, in which he argues
“many of the overt acts charged” fail to satisfy McCormick and McDonnell. Suppl. 17. The Court
construes his Supplement as a challenge to the sufficiency of the evidence as to Count 1, his
conspiracy conviction.
        A defendant is guilty of conspiracy under the federal conspiracy statute if he agrees with
another “to commit any offense against the United States, or to defraud the United States,” and at
least one of the conspirators takes an act “to effect the object of the conspiracy.” See 18 U.S.C.
§ 371. For a court to sustain a conspiracy conviction in the Third Circuit, the Government must
show: “(1) the existence of an agreement to achieve an unlawful objective; (2) the defendant’s
knowing and voluntary participation in the conspiracy; and (3) the commission of an overt act in
furtherance of the conspiracy.” United States v. Rigas, 605 F.3d 194, 206 (3d Cir. 2010) (en banc)
(internal quotation marks and citation omitted).
        As explained above in the discussion of Pawlowski’s various sub-schemes, the
Government presented ample evidence of both (1) Pawlowski entering into an agreement with
Fleck, Ruchlewicz, and Dougherty to commit the various substantive crimes of which he has been
convicted and (2) his knowing and voluntary involvement in these crimes. Moreover, as the Court
sustained Pawlowski’s convictions as to the substantive offenses that were the objects of the
conspiracy, the Government has presented more than sufficient evidence of overt acts in
furtherance of the conspiracy. Pawlowski’s arguments as to the specific deficiencies in the
Government’s proof as to the overt acts fail for the same reasons his challenges to his convictions
for the underlying substantive offenses fail. To the extent Pawlowski argues he should be granted
a judgment of acquittal as to Count 1, there is sufficient evidence from which a jury could find that
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       Because the Government presented sufficient evidence to sustain the convictions relating

to conspiracy, false statements, and mail and wire fraud, and its evidence was sufficient to support

a finding of a quid pro quo/explicit quid pro quo and an official act as to all of the convictions

relating to federal program bribery, attempted Hobbs Act extortion under color of official right,

honest services mail and wire fraud, and Travel Act bribery except as to those concerning Counts

11, 12, 13, and 14, the Court granted Pawlowski’s motion for judgment of acquittal as to Counts

11, 12, 13, and 14, and denied it as to the balance of the counts.




                                                              BY THE COURT:




                                                              /s/ Juan R. Sánchez
                                                              Juan R. Sánchez, C.J.




he conspired to commit mail fraud, wire fraud, honest services mail fraud, honest services wire
fraud, federal program bribery, or Travel Act bribery.
         In addition to challenging Count 1 in his Supplement, Pawlowski appears to suggest that
campaign contributions cannot form the basis of a bribe, relying on McCutcheon v. FEC, 572 U.S.
185, 208 (2014). See Suppl. 19. The Court disagrees. As the McCutcheon Court specifically
stated, “Spending large sums of money in connection with elections, but not in connection with an
effort to control the exercise of an officeholder’s official duties, does not give rise to [] quid pro
quo corruption.” 572 U.S. at 208 (emphasis added and removed). Contrary to Pawlowski’s
assertion, McCutcheon demonstrates the Supreme Court’s ongoing concern with “precisely the
type of dollars-for-official-action exchange that is at the core of the Government’s allegations in
this case.” Menendez, 291 F. Supp.3d at 621; see also Citizens United v. FEC, 558 U.S. 318, 359-
60 (2010) (noting the Government’s interest in preventing quid pro quo corruption). The Court
rejects Pawlowski’s argument.
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